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        EDWARD THOMAS KENNEDY                JOSEPH N. HANNA, et al.
                                      18-2203




David M. Backenstoe, Esq.




PHILLIPS ARMSTRONG                   NONE                             NONE
 COUNTY OF LEHIGH
  JOSEPH N. HANNA
       JOHNDOE 1
       JOHN DOE 2




NONE
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United States District County, Eastern District of Pennsylvania (Allentown)
Kennedy vs. Hanna, et al.
No. 5:18-cv-00977-CDJ




              8/30/2018

                                                       David M. Backenstoe

    N/A

                                             Reset Fields
